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                     EXHIBIT 14




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,                          )
                                                 )
                        Plaintiffs,              )
                                                 )
v.                                               )     Civil Action No. 1:14-cv-00254
                                                 )
UNITED STATES OF AMERICA, et al.,                )
                                                 )
                        Defendants               )

                         DECLARATION OF KARL ESCHBACH, Ph.D.

          My name is Karl Eschbach, and I am over the age of 18 and fully competent in

all respects to make this declaration. I have personal knowledge and expertise of the

matters herein stated.

     I.         Qualifications

           1.     I am a demographer, with a Ph.D. from the department of sociology at

 Harvard University (1992), and a post-doctoral traineeship in demography

 sponsored by the National Institute of Child Health and Human Development at

 the University of Wisconsin, Center for Demography and Ecology (1993-1995). I am

 Professor and Director of Population Research at the University of Texas Medical

 Branch in Galveston, Texas.

           2.     My research specializations are in the areas of racial and ethnic

 demography and health disparities, with a particular focus on Hispanic and the

 American Indian populations. I have published peer-reviewed research articles on

 illegal migration and on health and healthcare use among immigrants. I have

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 served as the elected Chair of the Caucus of Refugee and Immigrant Health in

 association with the American Public Health Association, and have served by

 appointment of the Secretary of Veterans Affairs on the Department of Veterans

 Affairs Health Services Research and Development Scientific Merit Review Board,

 with a principal assignment to evaluate proposals pertaining to population

 disparities in health care use and outcomes. I was appointed by Governor Rick Perry

 to serve as the State Demographer of Texas, and held this position from 2008 to

 2010. As the State Demographer, I had a statutory responsibility to advise the

 legislative and executive branches of the Government of Texas on the implications

 of demographic trends on State service demands. As part of these duties, I reviewed

 current information about the volume of unauthorized migration to the state of

 Texas.

          3.     Attached to this declaration are true and correct copies of the following

 documents:

   •     Appendix 1 includes my curriculum vitae and lists my publications in the last

         ten years.

   •     Appendix 2 sets forth the cases in which I have testified in deposition or at trial

         during the last four years.

   II.         Scope of Inquiry

         4.      I have been retained in this case by the Office of the Attorney General

of Texas to analyze the following three issues: (1) whether the 2012 Deferred Action

for Childhood Arrival (DACA) program caused an increase in the unauthorized


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immigrant population, and whether the 2012 Deferred Action for Parental

Accountability (DAPA) program likely would cause a concomitant increase in the

unauthorized immigrant population; (2) the method for counting the unauthorized

immigrant population and the number of unauthorized immigrants that reside in

Texas; and (3) whether unauthorized immigrants receive a disproportionate amount

of uncompensated healthcare.

   III.    Summary of Opinions

      5.      Based on my education, qualifications, experience, and knowledge of the

relevant scientific literature, the following findings are offered as my expert scientific

opinion.

      a. It is my opinion that DAPA will discernibly and significantly increase

           unauthorized immigration to the United States in two ways. First, policies

           like DACA and DAPA will have a positive effect on increasing the size of

           the unauthorized population. These policies, which offer deferred action

           status and work authorization to eligible unauthorized individuals,

           encourage those eligible to stay in the United States and incentivizes other

           ineligible unauthorized immigrants to remain in the United States with the

           hope that they will be the beneficiaries of a future adjustment of status. As

           a result, the number of unauthorized immigrants will increase in the

           United States by making self-deportation a less attractive option. Second,

           the DAPA program will likely make it more attractive for unauthorized

           immigrants to migrate to the United States. Given that the DAPA program



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              is the second time the government has offered deferred action status to a

              class of unauthorized immigrants and has provided them work

              authorizations, individuals may be encouraged that if they enter the United

              States illegally, the government will grant them the same benefits in a

              future program.    It is therefore reasonable to conclude that with the

              implementation of the DAPA program, other things equal, we will see

              similar patterns of increased migration of unauthorized immigrants just as

              was present post-DACA.

         b. It is my opinion that the low rates of private market health insurance

              coverage for unauthorized immigrants residing in the United States, as

              well as their exclusion from coverage from most public programs and from

              market exchanges under the Affordable Care Act result in disproportionate

              use of uncompensated care, resulting in a substantial burden on states and

              sub-state jurisdictions with heavy representation of unauthorized

              immigrant populations.

The basis for each of these findings is explained in more detail below.

   IV.        Counting the Unauthorized Immigrant Population

         6.      Following the implementation of the Immigration Reform and Control

Act (IRCA), trends in resident unauthorized populations have been studied using a

residual methodology to infer the size and characteristics of the unauthorized




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population by subtracting the known legally present immigrant population from the

total immigrant population estimated from United States Census Bureau surveys.1

      7.     This methodology has gained wide acceptance among demographers and

immigration scholars. Concordant estimates of the resident unauthorized population

have been regularly produced using this methodology by the statistics office of the

Department of Homeland Security,2 and by the Pew Hispanic Center, a non-profit

research institute.3 A retrospective annual time series for the period from 1990 to

2010 was published as peer-reviewed research.4

      8.     Table 1 below shows that the estimates of the size of the unauthorized

population produced in these three implementations of the residual methodology are

highly concordant.




      1   Robert Warren & Jeffrey S. Passel, A Count of the Uncountable: Estimates of
Undocumented Aliens Counted in the 1980 United States Census, 24 DEMOGRAPHY 375
(1987); Frank D. Bean et al., The Quantification of Migration Between Mexico and the United
States, in 1 MIGRATION BETWEEN MEXICO AND THE UNITED STATES: BINATIONAL STUDY 1-89
(Mexican Ministry of Foreign Affairs & U.S. Comm’n on Immigration Reform, 1998).
        2 Bryan Baker & Nancy Rytina, Dep’t of Homeland Security, Office of Immigration

Stat., Estimates of the Unauthorized Immigrant Population Residing in the United States:
January 2012 (2013).
        3 Jeffrey S. Passel & D’Vera Cohn, Pew Research Ctr. Hispanic Trends Project,

Unauthorized Immigrant Totals Rise in 7 States, Fall in 14 (Nov. 18, 2014).
        4 Robert Warren & John Robert Warren, Unauthorized Immigration to the United

States: Annual Estimates and Components of Change, by State, 1990 to 2010, 47 INT’L
MIGRATION REV. 296 (2013).

                                            5

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Table 1: Estimated Unauthorized Immigrant Resident Population using the
Residual Method, 3 Sources, for Selected Years

                                                           Pew
                            Department of               Hispanic
 Year                     Homeland Security               Center          Warren & Warren
                                                   United States
         1990                      Na                       na                  3.500
         2000                     8.460                   8.600                 8.600
         2007*                   11.780                   12.200                11.981
         2010                    11.590                   11.400                11.725
         2012                    11.430                   11.200                  Na
         2013                      Na                     11.300                  Na

                                                Texas
        1990                   na                    na                 0.440
        2000                  1.090                 1.050               1.127
        2007*                 1.680                 1.550               1.616
        2010                  1.770                 1.650               1.608
        2012                  1.830                 1.650                Na
Sources: Baker & Rytina, supra note 2; Warren & Warren, supra note 4; Passel & Cohn,
supra note 3.

*2007 is the peak year to date for the unauthorized population of the United States in all
three estimate series, with subsequent declines attributable to the effects of the recession in
the U.S. economy on labor demand.

        9.       The size of the 2010 resident unauthorized population in the United

States was between 11.4 and 11.7 million in each estimated series. The size of the

estimated unauthorized resident population in Texas was between 1.6 and nearly 1.8

million. While the estimates vary because of the use of different data series and

slightly different assumptions about detailed components of the estimate, these

results are highly consistent as to the current size of the population and have been

widely accepted in peer-reviewed demographic literature.




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   V.         The Influence of DACA and DAPA on Unauthorized Immigrant
              Migration Patterns

        10.     To consider the effect of DACA and DAPA, it is important to draw on a

conceptual understanding of how these policies are likely to affect the behavior of

unauthorized immigrants. Unauthorized migration is a process that occurs over time

rather than a fixed event. Potential unauthorized migrants face an initial decision

about whether to make an unauthorized entry. Subsequently, migrants must make

continuous decisions about whether to remain in the United States or return to their

country of origin, and if the latter, whether to return to the United States. These

decisions also influence, and are influenced by, decisions about whether to form a

family, where that family will locate, and the development of job-specific skills.5

        11.     The most important factors influencing these choices are likely to be

based on relative wages and job opportunities in the United States and in the country

of origin.6     Immigration policies, including the level of border and workplace

enforcement, also represent one factor that influences an individual’s decision

whether to migrate or not to migrate to the United States.7




        Douglas S. Massey & Kristin E. Espinosa, What’s Driving Mexico-U.S. Migration? A
        5

Theoretical, Empirical, and Policy Analysis, 102 AM. J. SOC. 939 (1997).
      6 Gordon H. Hanson, Illegal Migration from Mexico to the United States, 44 J. ECON.

LITERATURE 869 (2006); Gordon H. Hanson & Antonio Spilimbergo, Illegal Immigration,
Border Enforcement, and Relative Wages: Evidence from Apprehensions at the U.S.-Mexico
Border, 89 AM. ECON. REV. 1337 (1999).
      7 Catalina Amuedo-Dorantes et al., How Do Tougher Immigration Measures Affect

Unauthorized Immigrants?, 50 DEMOGRAPHY 1067 (2013); Pia M. Orrenius & Madeline
Zavodny, Do Amnesty Programs Reduce Undocumented Immigration? Evidence from IRCA,
40 DEMOGRAPHY 437 (2003); Hanson & Spilimbergo, supra note 6.

                                           7

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             12.    The dynamism of the unauthorized immigrant population is reflected in

       the following table:

       Table 2: Estimates of the Total Unauthorized Immigrant Population of the United
       States and Annual Components of Population Change: 1990-2010
                                                                           Method of Leaving the Population
                                                                                   Adjusted
        Unauthorized                      Entered                                       to
        Immigrants,     Annual Net          the          Left the                    Lawful    Removed
           Jan. 1         Change         Population     Population      Emigrated    Status    by DHS     Died
Year        (1)        (2) = (3) – (4)      (3)       (4) =∑ (5 to 8)      (5)         (6)        (7)       (8)
2010      11,725
2009      11,899           (174)            384             558            243         104        165      46
2008      12,009           (110)            439             549            252         100        150      46
2007      11,981             27             558             531            258          94        133      46
2006      11,714            267             749             482            256          64        117      45
2005      11,317            397             873             476            250          79        103      44
2004      10,978            339             813             474            247          84        100      42
2003      10,692            286             779             493            244         120         88      41
2002      10,259            434             906             473            237         115         81      40
2001       9,620            638            1,146            508            223         176         71      37
2000       8,600           1,020           1,389            369            198          73         65      33
1999       7,827            773            1,132            358            198          60         65      35
1998       7,210            616             954             338            182          61         65      30
1997       6,763            448             759             311            170          54         59      28
1996       6,291            472             756             284            161          55         41      26
1995       5,720            571             822             251            150          42         36      24
1994       5,253            467             700             233            138          38         35      22
1993       4,925            327             557             229            130          45         34      20
1992       4,587            339             559             220            124          43         34      19
1991       4,135            452             649             197            116          35         29      17
1990       3,500            635             816             181            103          38         25      15
       Source: Warren & Warren, supra note 4.

             13.    This table shows that the unauthorized immigrant population reflects

       not only new arrivals but also four ways in which people leave the population: (i)

       emigration or voluntary self-deportation; (ii) adjustment to lawful status; (iii)

       removal; and (iv) mortality.

             14.    DACA and DAPA represent important policy choices that operate by

       deferring enforcement action in ways that increase eligibility to work and allow

       individuals to remain in the United States without fear of immediate deportation.


                                                        8

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The DACA program, which was initiated by President Obama in June 2012, allows

certain unauthorized immigrants who entered the country before their sixteenth

birthday to receive work authorization and exemption from deportation. At the

initiation of this program, the Pew Research Center estimated that up to 1.7 million

people might be eligible for the DACA deferred action status.8 It is my understanding

that as of December 19, 2014, USCIS has granted DACA status to about 636,000

individuals.

       15.     In November 2014, President Obama announced the DAPA program,

purportedly aimed at reducing unauthorized immigration at the border. Among the

initiatives included in the executive action, the new policy would allow parents of

United States citizens and lawful permanent residents who have been present in the

country since January 1, 2010 to request deferred action and employment

authorization for three years, in the new DAPA program. DHS has estimated that

the new deferred action program could extend to approximately 4 million individuals

nationwide.9

       16.     DACA and DAPA will impact decisions on whether to remain or come to

the United States with respect to three groups: (i) unauthorized immigrants directly

eligible for the programs; (ii) potential migrants; and (iii) other unauthorized




       8 Jeffrey S. Passel & Mark Hugo Lopez, Pew Research Ctr. Hispanic Trends Project,
Up to 1.7 Million Unauthorized Immigrant Youth May Benefit from New Deportation Rules
(Aug. 14, 2012).
       9 Memorandum Opinion for the Secretary of Homeland Security, from Karl R.

Thompson, Principal Deputy Assistant Attorney General, Office of Legal Counsel, The
Department of Homeland Security’s Authority to Prioritize Removal of Certain Aliens
Unlawfully Present in the United States and to Defer Removal of Others at 30 (Nov. 19, 2014).

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immigrants already present in the United States. As to each of these categories,

DACA and DAPA change the calculation of benefits associated with coming to, or

remaining in, the United States.

       17.    For those individuals directly covered by DACA and DAPA, the policies

increase the size of the unauthorized population insofar as they defer the deportation

of unauthorized immigrants who meet certain eligibility criteria and who would

otherwise have been identified by the Department of Homeland Security and subject

to deportation within the time period specified in the programs.10                 A second

unambiguous effect is that the programs will reduce the incentive to self-deport based

on the provision of work authorization and the removal of fear of deportation.

       18.    DACA and DAPA may also influence the decisions of potential migrants

and other unauthorized immigrants already present in the United States.

Specifically, these individuals may be encouraged by these programs to immigrate

without authorization or to remain in the United States because of a potential ability

to receive an adjustment despite a failure to qualify for its provisions, or in

anticipation that the programmatic relaxing of enforcement will be further extended

in the future to them or their family members.




       10 Recent estimates by Warren and Warren suggest an annual removal rate for the
resident unauthorized immigrant population in the range of 1 percent and an estimated
emigration rate in the range of 2 to 3 percent. Applying these rates to the population offered
deferred action pursuant to DACA and DAPA provides a crude estimate of an increase in the
stock of resident unauthorized immigrants of 3 percent of the enrollees in the program for
each year of their participation. The actual number of reduced deportations/deferrals may
vary if the emigration/deportation rate in the program eligible population is different from
the overall number, or if eligible unauthorized immigrants choose to emigrate voluntarily
despite their benefits under DACA and DAPA. See Warren & Warren, supra note 4.

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         19.     In short, the effect of DACA and DAPA is to incentivize residents of

other countries to come to the United States. The policies also encourage individuals

who are already present in the United States to remain with the hope that they would

have a future adjustment of status.           Based on my education, qualifications,

experience, and knowledge of the relevant scientific literature, it is my expert opinion

there will be a positive effect on the size of the unauthorized immigrant population

in Texas and elsewhere in the United States based on DACA and DAPA.

   VI.         The Failure of Immigration Policies to Reduce Unauthorized
               Immigrant Flows Into the United States

         20.     In considering the effects of DACA and the potential effects of DAPA, we

can turn to the literature regarding the largest status adjustment policy in United

States history. IRCA was enacted on November 6, 1986, and at that time, was a

major policy change in United States immigration law. One of the main provisions

of the Act was a legalization program that granted amnesty to unauthorized

immigrants who could prove they had resided in the United States continuously since

January 1, 1982.        As a result of IRCA, approximately 3 million unauthorized

immigrants were granted legal permanent resident status.

         21.     The original promise of IRCA was that the amnesty, together with

increased enforcement and provisions for employer sanctions, would reduce the

impacts of unauthorized migration by the combination of these components. The logic

of the policy is that the adjustment in status of a substantial portion of the resident

unauthorized population would provide a practical accommodation to the presence of

a large resident unauthorized immigrant population that occupied an important role

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in the labor markets of areas where the population was concentrated, while enhanced

enforcement would reduce future growth of the population.11

       22.    In the 25 years after IRCA was implemented, there has not been a

significant decrease in the number of unauthorized immigrants entering the United

States. Instead, the unauthorized population has surged to 11.7 million individuals

since its implementation. Further, Warren and Warren’s estimates imply a growth

of 8.5 million between 1990 and 2007, nearly 3 times the legalized population at the

time IRCA was passed.12

       23.    Evaluations of the impact of IRCA have concluded that the program

failed to accomplish its goals.13 The resident unauthorized immigrant population was

initially reduced through adjustments in status but subsequently returned to its

previous trajectory of growth, as reflected in Table 1. Many analysts concluded that

the principal restructuring that occurred in response to IRCA was longer sojourns or

permanent shifts of residence in the United States by persons who would have

otherwise have spent larger portions of time in their country of origin.14 This flow of

unauthorized entrants across the border was responsive to many influences,




       11  Jeffrey S. Passel et al., Undocumented Migration Since IRCA: An Overall
Assessment, in UNDOCUMENTED MIGRATION TO THE UNITED STATES: IRCA AND THE
EXPERIENCE OF THE 1980S 251-264 (Frank D. Bean et al. eds., 1990).
       12 See Warren & Warren, supra note 4.
       13 Katharine M. Donato et al., Stemming the Tide? Assessing the Deterrent Effects of

the Immigration Reform and Control Act, 29 DEMOGRAPHY 139 (1992); Orrenius & Zavodny,
supra note 7.
       14 Belinda I. Reyes et al., Pub. Policy Institute of Cal., Holding the Line? The Effect of

the Recent Border Build-Up on Unauthorized Immigration (2002).

                                               12

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including primarily perceptions of relative employment opportunities and wage

rates.15

       24.   One source of data used to evaluate trends in unauthorized immigration

flows is the time series of apprehensions of persons attempting entry without

authorization. The interpretation of trends in apprehension data is not

straightforward.16   For example, an increase in apprehensions may reflect an

increased volume of attempted unauthorized entry, or it may reflect a change in the

effectiveness of border enforcement or in the efficiency of smuggling operations in

transporting unauthorized immigrants past border surveillance without detection.

Apprehension and prompt removal of persons who attempt entry may inflate

apprehension counts relative to the volume of persons who successfully enter the

United States illegally if unauthorized immigrants make repeated attempts to enter

until they are successful.    Analysts have identified some of these confounding

influences on trend data on immigrations, and find it useful to identify trends in

migration flows, with allowance for confounders.17

       25.   The number of unaccompanied children (UAC) apprehensions has

increased in the past six years and has surged in the last two years. At the time

DACA was initiated, the yearly total for border apprehensions of UAC in FY 2012




       15  Hanson, supra note 6; Hanson & Spilimbergo, supra note 6.
       16  Thomas J. Espenshade, Using INS Border Apprehension Data to Measure the Flow
of Undocumented Migrants Crossing the U.S.-Mexico Frontier, 29 INT’L MIGRATION REV. 545
(1995).
        17 Hanson & Spilimbergo, supra note 6; Bean et al., supra note 1.


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entry post-DACA leads, at minimum, to the conclusion that there is no evidence that

DACA policy has contributed to a decrease in unauthorized immigration. One of the

stated purposes of the policy has been to redirect the enforcement activities of the

Department of Homeland Security to higher priority activities. But just the reverse

has occurred. While DACA has not been shown to be the principal cause of the surge,

it is reasonable to hypothesize that it has contributed to a climate of expectations

among persons contemplating an unauthorized entry that status adjustments may

be available to resident unauthorized children.

      27.    A conservative summary of the status adjustment provisions of IRCA

and DACA is that there is no theoretical basis or empirical evidence that such an

adjustment contributes to a reduction of future unauthorized entry or population

growth except for the bookkeeping adjustment of reclassifying some unauthorized

entrants and residents as authorized. It seems virtually certain that the work

authorization and deferral of deportation would have a direct effect of decreasing

voluntary return and deportation, with the effect of increasing the size of the resident

unauthorized population in Texas and the United States.

      28.    There is also reasonable theoretical ground for believing that both the

demonstration effect to future potential unauthorized entrants of repeated post hoc

status adjustments, as well as the expansion of an authorized resident population

that may anchor future unauthorized immigration, would have the expected effect of

increasing subsequent growth of the unauthorized population. The empirical record




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is that status adjustment programs have preceded increases rather than decreases of

stocks and flows of unauthorized immigration.

   VII.     Unauthorized Immigrants Receive a Disproportionate Amount of
            Uncompensated Healthcare

      29.     There is substantial evidence that unauthorized immigrants have few

opportunities for sponsored health care throughout the United States. Rates of

private market insurance are low among unauthorized populations. A recent study

combining information from the Census Bureau’s Survey of Income and Program

Participation and American Community Survey estimated that 71% of unauthorized

immigrant adults lacked any form of health insurance,18 a finding that is concordant

with more direct survey estimates for regional and local sub-populations.19

      30.     Unauthorized immigrants do not use healthcare at high rates.

Unauthorized immigrants appear to have lower rates of morbidity than U.S. native

populations. This is a common finding for immigrant populations because migration

is frequently health-selective—that is, people with better health are more likely to

join immigration streams. It is also likely that poorer access to care means that

unauthorized immigrants are more likely to have undiagnosed conditions, and hence

fail to present for treatment.20



      18 Randy Capps et al., Migration Policy Inst., A Demographic, Socioeconomic, and
Health Coverage Profile of Unauthorized Immigrants in the United States (May 2013).
      19 Dana P. Goldman et al., Legal Status and Health Insurance Among Immigrants, 24

HEALTH AFF. 1640 (2005).
      20 Silvia Helena Barcellos et al., Undiagnosed Disease, Especially Diabetes, Casts

Doubt on Some of the Reported Health “Advantage” of Recent Mexican Immigrants, 31
HEALTH AFF. 2727 (2012); Wassim Tarraf et al., Emergency Department Service Use Among
Immigrant and Non-Immigrant Groups in the United States, 16 J. IMMIGRANT & MINORITY
HEALTH 595 (2014).

                                          16

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      31.    When they do get sick, immigrants are less likely to seek medical care

than other populations because of lower rates of health insurance coverage and other

barriers to care.21 The one exception to this pattern of lower health care use is that

unauthorized immigrants use a higher volume of services than most other

populations for labor and delivery.22

      32.    When     they    do    use    healthcare,    unauthorized     immigrants

disproportionally use uncompensated care. Using an application of the residual

method described above to create estimates of unauthorized immigrant populations

to data from the Medical Expenditure Panel Survey, Professor Stimpson and

colleagues estimated that between 2000 and 2009, unauthorized immigrants were

more than twice as likely as U.S. natives to use uncompensated care, and had higher

rates of use of uncompensated care than all other immigrant status groups.23




      21   Marc L. Berk & Claudia L. Schur, The Effect of Fear on Access to Care Among
Undocumented Immigrants, 3 J. IMMIGRANT HEALTH 151 (2001); Marc L. Berk et al., Health
Care Use Among Undocumented Latino Immigrants, 19 HEALTH AFF. 51 (2000); Kathryn
Derose et al., Immigrants and Health Care: Sources of Vulnerability, 26 HEALTH AFF. 1258
(2007).
        22 Berk et al., supra note 20; C. Annette DuBard & Mark W. Massing, Trends in

Emergency Medicaid Expenditures for Recent and Undocumented Immigrants, 297 J. AM.
MED. ASS’N 1085 (2007).
        23 Jim P. Stimpson et al., Unauthorized Immigrants Spend Less Than Other

Immigrants and US Natives on Health Care, 32 HEALTH AFF. 1313 (2013); Jim P. Stimpson
et al., ED Visits and Spending by Unauthorized Immigrants Compared With Legal
Immigrants and US Natives, 32 AM J. EMERGENCY MED. 679 (2014).

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       Table 3: Health Care Spending by Nativity And Legal Status Of
       Respondents To The Medical Expenditure Panel Survey, 2000-09

                             Status
                             _______________________________________________________________
                             Unauthorized          Legal         Naturalized
                             Immigrant             resident      citizen          US native

 PERCENT OF POPULATION HAVING:
 Any health care expenses 60                      72            83               87
 Any uncompensated care 5.9                       4.7           2.3              2.8

 EXPENDITURES
 Average annual (millions
 of 2009 $)                 15,370                28,473        52,621           1,028,229
 Percent of US expenditures 1.4                   2.5           4.7              91.4

Source: Stimpson et al., Unauthorized Immigrants Spend Less, supra note 23 (Ex.
1).
       33.    Health care providers in states, including Texas, that have a

disproportionate    burden     of    resident    unauthorized     populations,     have      a

disproportionate burden of providing uncompensated care.              Estimates from the

residual method presented in Table 1 above are that the unauthorized immigrant

population in Texas is between 1.65 and 1.83 million as of 2012. The Texas Health

and Human Services Commission (HHSC) has estimated that the State’s public

hospital district facilities incurred approximately $596.8 million in uncompensated

care for unauthorized immigrants in FY 2006 and $716.8 million in FY 2008.24

       34.    These unauthorized immigrants disproportionally reside in a few

jurisdictions, including the Harris County Health District and Dallas County Health

District.    As a result, these jurisdictions have a disproportionate burden of


       24 Tex. Health & Human Servs. Comm’n, Report to the United States Congress on
Services and Benefits Provided to Undocumented Immigrants at 4-10 (2008) (“HHSC 2008
Report”); Tex. Health & Human Servs. Comm’n, Report on Services and Benefits Provided to
Undocumented Immigrants at 6-12 (2010) (“HHSC 2010 Report”)

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uncompensated care.        For example, out of the estimated $596.8 million in

uncompensated care provided to unauthorized immigrants by public hospital

facilities in FY 2006, approximately $215.4 million was incurred at Harris County

facilities and $134.7 million was incurred at Dallas County facilities.25 Out of the

estimated $716.8 million in uncompensated care provided to unauthorized

immigrants by public hospital facilities in FY 2008, approximately $239.7 million was

incurred at Harris County facilities and $175.5 million was incurred at Dallas County

facilities.26

       35.      Unauthorized immigrants residing in Texas also receive healthcare

services and benefits from several public programs through the State’s HHSC. For

example, unauthorized immigrants are eligible for Texas Emergency Medicaid, which

provides Medicaid coverage limited to emergency medical conditions, generally

defined to mean conditions that, in the absence of immediate medical attention, could

reasonably be expected to place the patient’s health in serious jeopardy or cause

serious impairment or dysfunction to the patient’s bodily functions or organs.27

According to reports compiled by HHSC, the total estimated cost to the State for the

provision of Emergency Medicaid services to unauthorized immigrants residing in

Texas was approximately $80 million in FY 2007, $62 million in FY 2009, and $71

million in FY 2011.28


       25 HHSC 2008 Report, supra note 24, at 6-10.
       26 HHSC 2010 Report, supra note 24, at 8-12.
       27 Tex. Health & Human Servs. Comm’n, Texas Works Handbook (2014) (glossary),

available at http://www.dads.state.tx.us/handbooks/TexasWorks/glossary/index.htm#emc.
       28 HHSC 2008 Report, supra note 24, at 3; HHSC 2010 Report, supra note 24, at 4;

Tex. Health & Human Servs. Comm’n, Report on Texas Health and Human Services

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      36.    Unauthorized immigrants also may be entitled to receive Texas

Children’s Health Insurance Program (CHIP) Perinatal Coverage, which provides

prenatal care for the unborn children of women whose income is up to 200% federal

poverty level and who do not qualify for Medicaid. This coverage includes prenatal

visits, labor with delivery, and upon the birth of the child, any regular checkups,

vaccines, and medicines ordered by the doctor.29 HHSC estimates that the total cost

to Texas for CHIP Perinatal Coverage to unauthorized immigrants residing in the

State was $33 million in FY 2009 and $35 million in FY 2011.30

      37.    In addition, the State’s Family Violence Program (FVP) contracts with

non-profit agencies to provide essential services to family violence victims, including

unauthorized immigrants. The FVP’s services include temporary 24-hour shelter,

counseling, assistance in obtaining medical care, and emergency transportation.31

HHSC estimates that the total cost to the State for the provision of direct FVP

services to unauthorized immigrants residing in Texas was $1.2 million in FY 2007,

$1.3 million in FY 2009, and $1.3 million in FY 2011.32

      38.    All of the facts and information contained within this declaration are

within my personal knowledge and are true and correct to the best of my knowledge.




Commission Services and Benefits Provided to Undocumented Immigrants at 6 (2013)
(“HHSC 2013 Report”).
        29 Tex. Health & Human Servs. Comm’n, CHIP Perinatal (2014), available at

http://chipmedicaid.org/en/CHIP-Perinatal.
        30 HHSC 2010 Report, supra note 24, at 5; HHSC 2013 Report, supra note 28, at 8.
        31 Tex. Health & Human Servs. Comm’n, Family Violence Program (2014), available

at http://www.hhsc.state.tx.us/help/family-violence.shtml.
        32 HHSC 2008 Report, supra note 24, at 4; HHSC 2010 Report, supra note 24, at 4;

HHSC 2013 Report, supra note 28, at 7.

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                      Appendix 1 to
Declaration of Karl Eschbach, Ph. D.




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                                                                                                Date: 12/2014
                                              CURRICULUM VITAE

NAME: Karl Eschbach

PRESENT POSITION AND ADDRESS:

Professor and Director of Population Research,
Department of Internal Medicine, Division of Geriatrics
University of Texas Medical Branch
301 University Blvd.
Galveston, TX 77555-0177
kaeschba@utmb.edu
(409) 266-9680 Office
(409) 392-1778 Mobile


EDUCATION:

2001-2002       NIA Fellow, Health of Older Minorities, UTMB Sealy Center on Aging
1993-1995         NICHD post-doctoral fellowship, Center for Demography and Ecology,
                         University of Wisconsin, Madison, Wisconsin
1988-1992       Ph.D. in Sociology, Harvard University, Cambridge, MA.
1985-1988       M.A. in Sociology, Harvard University, Cambridge, MA
June 1984       B.A. summa cum laude in Sociology, University of Pennsylvania, Philadelphia,   PA


PROFESSIONAL AND TEACHING EXPERIENCE:

2010-           Professor (with tenure) Department of Internal Medicine-Geriatrics;
2007-2010       Associate Director, Institute for Demographic and Socioeconomic Research, University of Texas
                at San Antonio (Interim Director, 2007-8)
2007-2010       Associate Professor to Professor, Department of Demography, University of Texas at San
                Antonio
2003-2007       Associate Professor, Department of Internal Medicine-Geriatrics &
                Graduate School of Biomedical Sciences, Department of Preventive Medicine and
                Community Health, University of Texas Medical Branch, Galveston
1998            Visiting Assistant Professor, Dept. of Sociology, Rice University
1995–2004       Assistant to Associate Professor, Department of Sociology, University of Houston
1995            Lecturer, Dept. of Sociology, University of Wisconsin, Madison.
1992-1993       Lecturer, Committee on Social Studies; Research Fellow, Malcolm Wiener Center for
                Social Policy, Kennedy School of Government, Harvard University


HONORS

University of Pennsylvania, B.A. awarded summa cum laude; Benjamin Franklin National Scholar, 1984
Research Associate, Center for Immigration Research, University of Houston, 1996-2004
Member, Executive Board, Texas Economic and Demographics Association, Houston Chapter, 2000-2006
Senior Fellow, Sealy Center on Aging, University of Texas Medical Branch, Galveston, Texas, October
        2009-.
Chair, Caucus on Immigrant and Refugee Health, American Public Health Association, 2004-2006 ;
        Program Co-Chair 2002-2004.

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Senior Research Associate, University of Houston, Center for Public Policy, September 2007-
Dean’s Award for Research Excellence, University of Texas at San Antonio, College of Public Policy,
        September 2008.
Adjunct Associate Professor, Graduate School of Biomedical Sciences, Department of Preventive
        Medicine and Community Health, University of Texas Medical Branch, Galveston. September
        2007-August 2009.
Adjunct Associate Professor, University of Texas at Houston, School of Public Health, San Antonio
        Regional Campus, Spring 2009-August 2009.
Texas State Demographer, 2008-2010 (Appointed by Governor of Texas)
Fellow, Center to Eliminate Health Disparities, University of Texas Medical Branch

RESEARCH ACTIVITIES:

Area of research

Applied Demography
Demography of racial and ethnic populations
Racial and ethnic disparities
Social Epidemiology
Official Statistics

Current Grant/Contract support

Comparative Effectiveness Research on Cancer in Texas (CERCIT) Goodwin (PI)08/01/10-07/31/15
Cancer Prevention Research Institute for Texas                                    $2,000,000
The overall goal of CERCIT is to create a statewide resource for outcomes and comparative effectiveness
research in cancer for Texas. To accomplish this goal, we will 1) link data from the Texas Cancer Registry
to Medicare, Medicaid and private insurance data for residents of Texas, making these data available to
investigators throughout the state; 2) use the data sets to examine the entire trajectory of cancer care in
Texas; and 3) train the next generation of cancer outcomes and comparative effectiveness investigators
in Texas

1R03!G046409-01 Graham JE (PI)                             9/30/2013-6/30/2014               .06 Cal Mnths
Archiving Four New Datasets from the Longitudinal Hispanic EPESE Study Graham (PI)
The goal of this grant is to create and share a public archive of data collected in the recent waves of data
collection for the Hispanic EPESE project,

R01 AG10939 (Kyriakos Markides, PI).                                       .024 Cal Mnths
 Hispanic Established Population for Epidemiologic Studies of the Elderly.
National Institute on Aging.
The goal of the Hispanic EPESE is to follow a cohort of community dwelling older Mexican Americans as
they age, collecting information about physical function, mortality, morbidity, social and economic
resources for purpose of description and investigation of the interrelationship of these variables in aging
in this population.
Role: Co-investigator




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Completed Grant/Contract Support

1R01 CA134275 Goodwin, J (PI)              07/17/2008 – 06/30/2013                 1.20 cal mths
NIH                                                                                         $250,000
Understanding Mechanisms of Ethnic Disparities in Colorectal Cancer Screening
This study involves conducting explanatory analyses with 100% Medicare claims data to develop
methods to measure the performance of individual primary care physicians in providing screening for
colorectal cancer (CRC) for patients. Of particular interest is how individual physicians' performance
contributes to racial disparities in screening use.


PL106310 Sec. 1004 C. Kosinetz, M Forman (PIs)            9/26/2008 - 9/25/2011 .60 cal mths
NICHD, NIEHS, CDC, EPA                            $3,262,527
Title of Project Harris County Hospital University National Children's Study
Project Goal To to examine the effects of environmental influences on the health and development of
more than 100,000 children across the US, from before birth until age 21.


P50-CA105631 Goodwin (PI)                       09/01/03-08/31/10                       7.20 cal mths
NIH-NCI
UTMB Center for Population Health and Health Disparities
The overall theme of the UTMB Center for Population Health and Health Disparities is to understand the
mechanisms responsible for lower cancer incidence, lower prevalence of other diseases, and lower
mortality associated with the increasing percent of Hispanics in the neighborhood.

Methodist Healthcare Ministries.
Children’s Medicaid Eligibility and Utilization for Texas Counties 3/2008 - 2/2009 $105,000
Role: Principal Investigator

Texas Workforce Commission
Allocation Factors for Local Workforce Development Areas 3/1/2008 - 2/1/2009 $31,729
Role: Principal Investigator

Texas Legislative Council
Interagency Cooperation Contract                        9/1/2007 - 8/31/2008             $277,849
Role: Principal Investigator

Texas Department of Transportation.
Estimated Impact of the 2010 Census on the PTN Funding Formula. 9/2008 - 2/2010 $134,623
Role: Principal Investigator

Texas Department of Transportation.
Impacts of current and future demographic trends on transportation planning in Texas
                                                                               9/2007-8/2008
Role Principal Investigator



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Methodist Healthcare Ministries
Projections of Obesity and Diabetes Prevalence for Counties in Texas.           8/2007-2/2008
Role: Principal investigator (Assumed from grant to Steve H. Murdock)


R21 AT002849 National Center for Complementary and Alternative Medicine
CAM Use in Hispanics 75+ Years Old in US & Mexico (Jose Loera, MD, PI) 3/2005-2/2007
Role: Co-investigator

Grant # 4368. Hogg Foundation for Mental Health, Austin, Texas.
Psychological distress among Mexican-origin populations in the United States.
                                                                                2002-2003
Role: Principal investigator.

United States. Department of the Interior. Minerals Management Service.
The Impact of Outer Continental Shelf Activity on Selected Communities and Institutions on the Gulf
Coast. (John Petterson, PI)                                                     1999-2001
Role: Co-investigator

Trull Foundation, Palacios Texas.
Migrant Death at the US - Mexico Border (Nestor Rodríguez, PI)                  1995-1997
        Role: Co-investigator


TEACHING

Courses Taught

Aging
Health Promotion
Introductory Sociology
Political Sociology
Population/demographic techniques
Racial and ethnic relations
Research methods
Social Epidemiology
Urban sociology
Great Syndromes (Course facilitator, M.D. curriculum, 2nd Year Problem-Based-Learning Class)

Doctoral Committees

Robert Burns (1999-2000) University of Houston, Political Science
Hilary Fried, (2000-2001) University of Houston, Psychology
Gregg Murray (2002-3) University of Houston, Political Science




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Kushang Patel (2002-4) UTMB, Preventive Medicine & Community Health
Rosa Davíla (2003-7) University of Texas-Houston, School of Public Health
J. Fred Thomas (2004-7) UTMB, Preventive Medicine & Community Health (Chair)
Frank Lemus (2004-7) UTMB, Preventive Medicine & Community Health
Bret Howrey (2006-9) UTMB, Preventive Medicine & Community Health
Mary Bollinger (2008-10) UTSA, Demography and Organization Studies
ThuyQyunh Do (2011-2013) UTMB, Preventive Medicine & Community Health
Alyssa Shell (2012-2013) UTMB, Preventive Medicine & Community Health
Lawrence Panas (2011-2013) UTMB, Preventive Medicine & Community Health (Chair)
Nitha Mathew (2013-2014) UTMB, School of Nursing

Professional Service

State of Texas representative to US. Bureau of the Census State Data Center Program, Federal-State
        Cooperative on Estimates/Projection, 2007-2010
Member, State of Texas, Homeland Security Council, 2007-2010
Texas Education Reform Foundation, Commitment to Excellence Steering Committee, 2009
Member, San Antonio/Bexar County 2010 Census Complete Count Committee
Member, City of San Antonio Vision 2050 Airport Master Plan Technical Advisory Committee


University Service

University of Houston
   Director of Undergraduate Studies, Department. of Sociology, 2000-2
   Member-at-large, Curriculum Committee, College of Social Science, 1998-2000
   Member, Curriculum Committee, College of Liberal Arts and Social Sciences, 2001-2
   Member, Undergraduate Committee, Department of Sociology, 1996-7, 1999-2001, 2002-3
   Member, Graduate Committee, Department of Sociology, 1995-6, 1997-9

University of Texas Medical Branch
   Director, Health of Older Minorities Post-Doctoral Training Program (JS Goodwin PI) 2003-7
   Post-doctoral Advisory Committee, Graduate School of Behavioral Sciences, 2013-
   Admissions Committee, School of Medicine, 2013-
   Graduate Policy Committee, Preventive Medicine & Community Health, 2012-

University of Texas at San Antonio
   Member, Graduate Council 2007-9
   Member, College of Public Policy, Faculty Review Advisory Committee 2007-8
   Graduate Advisor of Record, Department of Demography and Organization Studies, 2008-2010
   Co-chair, Health Disparities Task Force, 2008-2010


MEMBERSHIP IN SCIENTIFIC SOCIETIES/PROFESSIONAL ORGANIZATIONS

American Economic Association



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American Public Health Association
Gerontological Society of America
Population Association of America
Population Reference Bureau

JOURNAL/GRANT REVIEWER:

Editorial Board

Sociological Inquiry, 1993-1997
Journal of Aging and Health, 2006-2008
Journal of Applied Gerontology, 2007-2010

Journal Reviewer for

American Indian Culture and Research Journal, American Journal of Epidemiology, American Journal of
Public Health, American Sociological Review, Cancer, Demography, Ethnic and Racial Studies, Journals of
Gerontology: Social Sciences, Social Forces, Social Science & Medicine, Social Science Quarterly, Social
Science Research

Grant Reviewer for

Guest member, NIH study section on Social Psychology, Personality, and Interpersonal Processes (June
2005)

Member, Department of Veterans Affairs, Health Services Research and Development Service, Scientific
Merit Review Board (Guest, 2005-2006; Regular member, June, 2006-June, 2010).


PUBLICATIONS

Peer-reviewed journals

1.      Eschbach K. Changing Identification among American Indians and Alaska Natives. Demography.
        1993; 30:635-652.
2.      Eschbach K. The enduring and vanishing American Indian: American Indian population growth
        and intermarriage in 1990. Ethnic and Racial Studies. 1995; 18(1):89-108.
3.      Waters M, Eschbach K. Immigration and Ethnic and Racial Inequality in the United States. Annual
        Review of Sociology. 1995; 21:419-446. Reprinted in:
            a. Mobasher, M. and Sadri, M. eds. Migration, Globalization and Ethnic Relations: An
                Interdisciplinary Approach. Prentice Hall; 2004.
            b. Cross, M. ed. The Sociology of Race and Ethnicity. Volume 1. Edward Elgar; 2001.
            c. Yetman, N. ed. Majority and Minority: The Dynamics of Race and Ethnicity in American
                Life. Sixth Edition. Allyn and Bacon; 1998.
4.      Eschbach K, Gómez C. Choosing Hispanic Identity: Ethnic Identity Switching Among Respondents
        to High School and Beyond. Social Science Quarterly. 1998; 79(1):74-90.



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5.      Eschbach K, Hagan JM, Rodriguez NP, Zakos A. Houston Heights Cityscapes. 1998; 4(2):245-259.
6.      Eschbach K, Supple K, Snipp CM. Changes in Racial Identification and the Educational Attainment
        of American Indians, 1970-1990. Demography. 1998; 35(1):35-43.
7.      Eschbach K, Hagan JM, Rodriguez NP, Hernández-León R, Bailey S. Death at the Border.
        International Migration Review. 1999; 33(2):430-440.
8.      Eschbach K, Applbaum K. Who Goes To Powwows? Evidence from the Survey Of American
        Indians and Alaska Natives. American Indian Culture and Research Journal. 2000; 24(2):65-83.
9.      Curtis RL, Leung P, Sullivan E, Eschbach K, Stinson M. Outcomes of child sexual contacts:
        Patterns of incarceration from a national sample. Child Abuse and Neglect. 2001; 25:719-736.
            a. Eschbach K, Curtis RL, Leung P. Explorations of types of pre-pubertal touching and later
                 incarcerations: A Research Note in Response to Ryan. Child Abuse and Neglect. 2002;
                 26:5-10.
10.     Ostir GV, Eschbach K, Markides KS, Goodwin JS. Neighbourhood composition and depressive
        symptoms among older Mexican Americans. Journal of Epidemiology and Community Health.
        2003; 57:987–992.
11.     Patel KV, Eschbach K, Rudkin LL, Peek MK, Markides KS. Neighborhood Context and Self-rated
        Health in Older Mexican Americans. Annals of Epidemiology. 2003; 13(9):620-628.
12.     Eschbach K, Hagan JM, Rodríguez NP. Deaths during Undocumented Migration: Trends and
        Policy Implications in the New Era of Homeland Security. In Defense of the Alien. 2004; 26:37-52.
13.     Patel KV, Eschbach K, Ray LA, Markides KS. Evaluation of Mortality Data for Older Mexican
        Americans: Implications for the Hispanic Paradox. American Journal of Epidemiology. 2004;
        159(7):707-715.
            a. Patel KV, Eschbach K, Ray LA, Markides KS. Re: Evaluation of mortality data for older
                 Mexican Americans: implications for the Hispanic paradox. American Journal of
                 Epidemiology. 2004; 160(10):1030-1031.
14.     Eschbach K, Ostir GV, Patel KV, Markides KS, Goodwin JS. Neighborhood Context and Mortality
        among Older Mexican Americans: Is There A Barrio Advantage? American Journal of Public
        Health. 2004; 94(10):1807-1812.
15.     Eschbach K, Mahnken JD, Goodwin JS. Neighborhood Composition and Incidence of Cancer
        among Hispanics in the United States. Cancer. 2005; 103(5):1036-1044.
16.     Bratter JL, Eschbach K. Race/Ethnic Differences in Nonspecific Psychological Distress: Evidence
        from the National Health Interview Survey. Social Science Quarterly. 2005; 86(3):620-644.
17.     Markides KS, Eschbach K. Aging, Migration and Mortality: Current Status of Research on the
        Hispanic Paradox. Journals of Gerontology, Series B: Social Sciences and Psychological Sciences.
        2005; 60B; Special Issue II:68-75.
18.     Reyes-Ortiz CA, Camacho ME, Eschbach K, Markides KS. El contexto de la familia y el vecindario
        en la salud de los ancianos del estudio EPESE hispano [Family and neighborhood context in the
        health of older adults in the Hispanic EPESE]. Colombia Médica. 2006; 37(2, Supl 1):45-49.
19.     Bratter JL, Eschbach K. `What about the couple?’ Interracial marriage and psychological distress.
        Social Science Research. 2006; 35(4):1025-1047.
20.     Eschbach K, Kuo YF, Goodwin JS. Ascertainment of Hispanic Ethnicity on California Death
        Certificates: Implications for the Explanation of the Hispanic Mortality Advantage. American
        Journal of Public Health. 2006; 96(12):2209-2215.
21.     Stimpson JP, Eschbach K, Peek MK. Effect of Immigrant Status on Risk of Depressive Symptoms
        Associated with Spouse’s Chronic Conditions. Journal of Immigrant and Minority Health. 2007;
        9(1):29-34.



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22.   Al Snih S, Ottenbacher KJ, Markides KS, Kuo YF, Eschbach K, Goodwin JS. The Effect of Obesity on
      Disability vs Mortality in Older Americans. Archives of Internal Medicine. 2007; 167(8):774-780.
           a. The Effect of Obesity on Disability vs Mortality in Older American: The Potential
                Implication of Testosterone – Reply. Archives of Internal Medicine. 2007; 167(22):2528.
23.   Stimpson JP, Ju H, Raji M, Eschbach K Neighborhood Deprivation and Health Risk Behaviors in
      NHANES III. American Journal of Health Behavior. 2007; 31(2):215-222.
24.   Stimpson JP, Nash A, Ju H, Eschbach K. Neighborhood Deprivation Is Associated with Lower
      Levels of Serum Carotenoids among Adults Participating in the Third National Health and
      Nutrition Examination Survey. Journal of the American Dietetic Association. 2007; 107(11):1895-
      1902,
25.   Eschbach K, Stimpson JP, Kuo YF, Goodwin, JS. Mortality of Foreign-Born and U.S.-Born Hispanics
      Adults at Younger Ages: A Reexamination of Recent Patterns. American Journal of Public Health.
      2007; 97(7):1297-1304.
26.   El-Serag HB, Lau M, Eschbach K, Davila J, Goodwin JS. Epidemiology of Hepatocellular Carcinoma
      in Hispanics in the United States. Archives of Internal Medicine. 2007; 167(18):1983-1989.
27.   Artinian, NT, Warnecke RB, Kelly KM, Weiner J, Lurie N, Flack JM, Mattei J., Eschbach K, Long JA,
      Furumoto-Dawson A, Hankin JR, DeGraffinreid, C. Advancing the Science of Health Disparities
      Research. Ethnicity & Disease. 2007; 17(3):427-433.
28.   Tovar JJ, Angel RJ, Eschbach K, Espino DV, Markides KS. Hispanic Established Populations for the
      Epidemiologic Studies of the Elderly: Selected Longitudinal Findings. Aging Health. 2007;
      3(3):325-331.
29.   Malloy MH, Eschbach K. Association of Poverty with Sudden Infant Death Syndrome in
      Metropolitan Counties of the United States in the Years 1990 and 2000. Southern Medical
      Journal. 2007; 100(11):1107-1113.
30.   Riall TS, Eschbach K, Townsend CM, Nealon WH, Freeman JL, Goodwin JS. Trends and Disparities
      in Regionalization of Pancreatic Resection. Journal of Gastrointestinal Surgery. 2007;
      11(10):1242-1251.
31.   Hagan JM, Eschbach K, Rodríguez NP. U.S. Deportation Policy, Family Separation, and Circular
      Migration. International Migration Review. 2008; 42(1):64-88.
32.   Montez JK, Eschbach K. Country of Birth and Language Are Uniquely Associated with Intakes of
      Fat, Fiber, and Fruits and Vegetables among Mexican-American Women in the United States.
      Journal of the American Dietetic Association. 2008; 108(3):473-480.
33.   Al Snih S, Kaushik V, Eschbach K, Markides KS. Ethnic differences in physical performance in
      older Americans: Data from the Third National Health and Nutrition Examination Survey (1988-
      1994). Aging Clinical and Experimental Research. 2008; 20(2):139-144.
34.   Wu ZH, Eschbach K, Grady JJ. Contextual Influences on Polydrug use Among Young, Low-Income
      Women: Effects of Neighborhood and Personal Networks. The American Journal on Addictions.
      2008; 17(2):135-144.
35.   Reyes-Ortiz, CA, Eschbach K, Dong Z, Goodwin JS. Cancer Disparities: Neighborhood Composition
      and Cancer among Hispanics: Tumor Stage and Size at Time of Diagnosis. Cancer Epidemiology,
      Biomarkers and Prevention. 2008;17(11):2931-6.
36.   Salinas JJ, Eschbach K, Markides KS. The prevalence of hypertension in older Mexicans and
      Mexican Americans. Ethnicity and Disease 2008;18(3):294-298.
37.   Arias, E, Schauman, WS, Eschbach, K, Sorlie, PD, Backlund, E. The Validity of Race and Hispanic
      Origin Reporting on Death Certificates in the United States. Vital and Health Statistics. Series 2,
      Number 148, October 2008.



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38.   Lackan N, Eschbach K, Stimpson JP, Freeman JL, Goodwin JS. Ethnic differences in in-hospital
      place of death among older adults in California: effects of individual and contextual
      characteristics and medical resource supply. Medical Care. 2009;47(2):138-145.
39.   Nguyen-Oghalai TU, Ottenbacher KJ, Kuo YF, Wu ZH, Grecula M, Eschbach K, Goodwin JS.
      Disparities in utilization of outpatient rehabilitative care following hip fracture hospitalization
      with respect to race and ethnicity. Archives of Physical Medicine and Rehabilitation.
      2009;90(4):560-563
40.   Reyes Ortiz CA, Ju H, Inniss A, Eschbach K, Kuo YF, Goodwin JS. Acculturation and serum
      nutrients thought to be involved with cancer prevention among Hispanic men. Cancer Control.
      2009;16(2):169-75.
41.   Reyes-Ortiz CA, Ju H, Eschbach K, Kuo Y-F, Goodwin JS. Neighborhood ethnic composition and
      diet among Mexican Americans. Public Health Nutrition. 2009;12(12):2293-301
42.   Lemus FC, Tan A, Eschbach K, Freeman DH, Freeman JL Goodwin JS. Correlates of Bacterial
      Pneumonia Hospitalizations in Elders, Texas Border. Journal of Immigrant and Minority Health.
      In press, 2009; Epub ahead of print, March 18.
43.   Cline M, Sparks C, Eschbach K. Understanding carpool use among Hispanics in Texas.
      Transportation Research Record. 2009; 2118-06, 39-46.
44.   Stimpson JP, Wilson F, Eschbach K. Trends in Healthcare Expenditures for Immigrants in the
      United States. Health Affairs. 2010;29(3):544-50.
45.   Arias E, Eschbach K, Schauman WS, Backlund EL. Is the Hispanic mortality advantage a data
      artifact? Hispanic origin classification on US death certificates. American Journal of Public
      Health. 2010;100(4supplement):S171-S177
46.   Peek MK, Goodwin JS, Sheffield KM, Salinas J, Eschbach K Cutchin M. Allostatic load among non-
      Hispanic Whites, non-Hispanic Blacks, and Hispanics: Effects of race, ethnicity, nativity, and
      acculturation. American Journal of Public Health. 2010;100(5):940-946.
47.   Howrey B, Goodwin JS, Eschbach K, Freeman JL. Lower stroke mortality among Hispanics: an
      exploration of potential methodological confounders. Medical Care 2010;48:534-9.
48.   Gerst K, Miranda PY, Eschbach K, Sheffield KM, Peek MK, Markides KS. Protective
      neighborhoods: neighborhood proportion of Mexican Americans and depressive symptoms in
      very old Mexican Americans. J Am Geriatr Soc. 2011;59(2):353-8.
49.   Cutchin MP, Eschbach K, Mair CA, Ju H, Goodwin JS. The socio-spatial neighborhood estimation
      method: An approach to operationalizing the neighborhood concept.. Health Place.
      2011;17(5):1113-21.
50.   Begley C, Deshmukh A, Eschbach K, Fouladi N, Liu QJ, Reynolds T. Health Insurance Coverage in
      the Houston-Galveston Area under the Patient Protection and Affordable Care Act. Texas
      Medicine, 2012; 108(11):e1.
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Abstracts

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5.      Markides KS, Eschbach K, Ray LA, Peek MK. Census Disability Rates Among Older People by
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6.      Eschbach K, Al-Snih S, Markides KS, Goodwin JL. Disability and Active Life Expectancy of Older
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8.      Lemus, FC,Eschbach K. Hospitalization, In S. Loue and M. Sajatovic, eds. Encyclopedia of
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        Olguin eds. Latina/s and World War II. University of Texas Press: Austin, Texas. 2014.


Working papers, other publications

1.      Eschbach K. Shifting Boundaries: Regional Patterns of Identification and Re-identification as
        American Indians. Ph.D. dissertation. Harvard University, Department of Sociology, Cambridge,
        MA 02138; Nov. 1992.
2.      Jorgensen M., Eschbach K. Kili Radio: The Voice of the Lakota Nation. Harvard Project on
        American Indian Economic Development. Case Studies in Tribal Management, No. 3. 1991.
3.      Eschbach K.1989-1990. Harvard Project on American Indian Economic Development, Working
        Papers on Tribal Social Organization:
            a. #7 Oglala Sioux of the Pine Ridge Reservation and the Rosebud Sioux (1989)
            b. #8 Yakima Indian Nation (1990)
            c. #9 Southern California Indians (1990)
            d. # 10 Salish and Kootenai Tribes of the Flathead Reservation (1990)
4.      Eschbach K., Supple K. “Employment, Household Structure and the Health Insurance Coverage of
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5.      Bailey S, Eschbach K, Hagan JM, Rodríguez NP.The human costs of border enforcement: Migrant
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        Robert Underwood, Delegate for Guam, U.S. House of Representatives; 1995.
7.      Eschbach K, Hagan JM, Rodriguez NP. Causes and trends in migrant death along the border,
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Book Reviews

1.      The Micro-Macro Link.Ed. J.C. Alexander et al. (Berkeley: University of California Press. 1987) in
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2.      Micro-Sociological Theory. Ed. H.J. Helle and S.N. Eisenstadt. (Beverly Hills: Sage Publications,
        1987) in Qualitative Sociology 12(4):425-427; 1989.
3.      Social Order and Political Change. Constitutional Governments among the Cherokee, the
        Choctaw, the Chickasaw, and the Creek. Duane Champagne (Stanford: Stanford U. Press. 1992)
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4.      The Political Economy of North American Indians. Moore, John H., ed. (Norman: University of
        Oklahoma Press, 1993.) In American Indian Quarterly; 1994.
5.      Community, Culture and Economic Development. The Social Roots of Local Action. Meredith
        Ramsey. (Albany: State University of New York Press. 1996) in Contemporary Sociology
        26(4):476-7; 1997.
6.      Ethnicity Counts. William Petersen.(New Brunswick: Transaction Books, 1997) In Social Forces
        77:1630-1632; 1999.
7.      American Indian Population Recovery in the Twentieth Century. Nancy Shoemaker.
        (Albuquerque: University of New Mexico Press, 1999.)In American Indian Culture and Research
        Journal; 2003.


Presentations at Conferences/Universities

1.      Eschbach K. Migration and Changing Identification Among American Indians. Annual meetings of
        the American Sociological Association, Pittsburgh, PA, August, 1992.
2.      Eschbach K. Native American Ethnic Reorganization. Annual meetings of the Eastern Sociological
        Society, Boston, MA, Spring 1993.
3.      Eschbach K, Gómez C. “Choosing Latino Identity: Ethnic Identity Switching Among Respondents
        to High School and Beyond.” Annual meetings of the American Sociological Association, Miami,
        FL, August 1993.
4.      Supple K, Snipp CM, Eschbach K, Household Structure and Economic Well-Being: American
        Indians, Blacks and Whites, 1970-1990. Annual meetings of the American Sociological
        Association, 1995.
5.      Eschbach K, Supple K, Snipp CM, Changes in Racial Identification and Changes in the Educational
        Attainment of American Indians.” Annual meetings of the Population Association of America,
        1995.
6.      Eschbach K, Supple K. Employment, Household Structure and the Health Insurance Coverage of
        American Indians. Workshop on American Indian Demography, National Research Council,
        Committee on Population, National Academy of Sciences. Washington, DC, 1995.
7.      Eschbach K, Gomez C. Choosing Hispanic Identity. Texas A & M University, sociology colloquium,
        1996.
8.      Eschbach, Karl, Jacqueline Hagan, Nestor Rodriguez. Death at the Border. Annual meetings of
        the Southern Demographic Association, Memphis, TN, 1996.
9.      Eschbach K, Mikelsons M. Housing Problems and Needs of Native Hawaiians. University of
        Hawaii at Manoa, Department of Economics, 1996.
10.     Eschbach K, Hagan JM, Rodriguez NP. The Houston Heights: Coexisting Communities. U.S.



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      Department of Housing and Urban Development Working Group meeting on “Sustaining Diverse
      Urban Communities,” Loyola University of Chicago, 1996.
11.   Eschbach K. The Indigenous Peoples of America’s Pacific Territories. Presented at the annual
      meetings of the American Sociological Association, 1997.
12.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. University of California, Berkeley.
      Chicano Policy Project, 1998.
13.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. Stanford University. Department of
      Sociology, 1998.
14.   Eschbach K, Hagan JM, Rodríguez NP. University of Illinois. Department of Sociology Urbana,
      1998.
15.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. University of Texas, El Paso. Border
      Rights Coalition Conference, 1998.
16.   Eschbach K. Migration and ethnic inequality in Houston, 1980-1997. Annual meetings of the
      Southwestern Social Science Association, 2000.
17.   Eschbach K. Invited commentary on C. Matthew Snipp, ‘American Indians’. Symposium on
      Historical Statistics of the United States—Millenial Edition. Annual Meetings of the Social
      Science History Association, Fort Worth, 2000.
18.   Eschbach K. Racial Identification of the Children of Intermarried Couples under the Choose-One
      Rule. Annual meetings of the American Sociological Association, Anaheim, CA, 2001.
19.   Mencken FC, Eschbach K. Oil and Gas Boom & Bust Cycles in the Gulf of Mexico Region and the
      Impact on Local Government Finances. Annual meetings of the Rural Sociological Society,
      Albuquerque, NM, August 2001.
20.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. American Public Health Association,
      Caucus on Refugee and Immigrant Health, Invited Session. Annual Meetings, Atlanta, GA, 2001.
21.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. University of Wisconsin-Milwaukee,
      Department of Anthropology, November 2001.
22.   Patel KV, Eschbach K, Rudkin, LL, Peek MK, Markides KS. Neighborhood context and self-rated
      health in older Mexican Americans. Annual meetings of the Population Association of America,
      Atlanta, GA, 2002.
23.   Eschbach K. Spatial Assimilation and the Health of older Mexican Americans. Annual meetings of
      the Population Association of America, Atlanta, GA, 2002.
24.   Eschbach K. “Changes in the spatial distribution of poverty and ethnic populations in the
      Houston Metropolitan area, 1990 -2000. Texas Economics and Demographics Association,
      Houston, TX, 2003.
25.   Eschbach K, Hagan JM, Rodríguez NP. Death at the Border. Center for Immigration Studies, 26th
      Annual National Legal Conference on immigrant and refugee policy, Washington, DC, 2003.
26.   Bratter J, Eschbach K. Between Acculturation, Segregation and Assimilation: Examining the
      association between Racial Contact and Psychological Distress.” Annual meetings of the
      Population Association of America, Minneapolis, MN, 2003.
27.   Eschbach K. American Indian population growth at the start of the 21st Century. Harvard
      University, Committee on Ethnic Studies. On Our Own Ground. Mapping Indigeneity in the
      Academy, Boston, September 2004.
28.   Eschbach K. American Indian population growth at the start of the 21st Century. University of
      Texas-Austin, Population Research Center Colloquium, October, 2004.
29.   Eschbach K. Errors in ascertainment of Hispanic ethnicity on the California death certificate. Ad
      hoc meeting on Hispanic mortality issues, University of Maryland, May 2005. (Eschbach K,



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        Kestenbaum B, Meeting organizers).
30.     Cutchin M, Eschbach K. Neighborhood definitions, Texas City, Texas. Annual Grantees Meeting
        of the Centers for Population Health and Health Disparities, Santa Monica, CA, 2006.
31.     Markides KS, Eschbach K. Hispanic Established Population for Epidemiologic Studies of the
        Elderly. Free University of Amsterdam, May 2007.
32.     Eschbach K. Hispanic Neighborhoods and Health. Annual Grantees Meeting of the Centers for
        Population Health and Health Disparities, Boston, 2007.
33.     Eschbach K. Hispanic mortality in Texas. University of North Texas Health Science Center Grand
        Rounds. Fort Worth, TX, February 29, 2008.
34.     Eschbach K. Health Disparities in a Changing Texas. University of Texas Health Science Center
        San Antonio, Health Promotion Research Institute, September 2008.
35.     Is neighborhood ethnic concentration associated with lower mortality among Mexican
        Americans? An investigation using geocoded state vital statistics data.
            •        National Center for Health Statistics, Data Analysis Group, January 2011.
            •        University of Texas Pan American, February 2011.


Invited Lectures and Testimony

1.      Housing problems and needs of Native Hawaiians.” Staff Briefing, U.S. Senate Select Committee
        on Indian Affairs, 1996.
2.      A demographer’s perspective on health care in Houston in the twenty-first century. Houston
        International Community Health Summit, Texas Medical Center, 1998.
3.      Death at the Border. U.S. Border Patrol safety conference, Nogales, Arizona. 1998.
4.      Business Applications of the American Community Survey. U.S. Bureau of the Census, Capitol Hill
        Fair, Washington D.C. December, 2001.
5.      Hispanic health and health care issues in Texas and the United States. Citizen’s Health Care
        Working Group. Invited testimony, Houston, TX, July 26, 2005.
6.      Current population trends in Texas. UT School of Law CLE Symposium, Austin, TX, November 8,
        2007.
7.      Demographic trends in post-secondary enrollment. National Association of State Treasurers, San
        Antonio, TX, December 3, 2007.
8.      Prospectus for a Native American Housing Needs Assessment. National American Indian Housing
        Council Annual Meeting, Las Vegas, NV, December 5, 2007.
9.      Population change in Texas. To and from 2000. Texas Monthly Editorial Board Retreat, Austin,
        TX. January 14, 2008.
10.     Current trends in population change in Texas. Primary Prevention Planning Committee, Austin,
        TX, January 28, 2008.
11.     Current trends in population change in Texas. TEDA/Houston Workshop. Houston, TX, February
        21, 2008.
12.     Population trends impacting education in Northeast Texas. Regional VIII Education Service
        Center. Mt. Pleasant, TX, April 1, 2008.
13.     Current population trends in San Antonio and Central Texas. Rotary of San Antonio, San Antonio,
        TX, April 5, 2008.
14.     Healthcare workforce needs in Texas. Texas Physician Workforce Stakeholder Forum. Texas
        Medical Association. Austin, TX. April 8, 2008.


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15.   Impacts of illegal immigration on Texas and the Texas economy. Dallas Friday Group, April 11,
      2008.
16.   Current research on health and healthcare issues of Hispanic population in Texas. San Antonio
      Association of Hispanic Journalists. San Antonio, TX, April 12, 2008.
17.   Current trends of population change in Texas. Texas Association of Urban Counties, Rockwall,
      TX. April 24, 2008.
18.   Texas State Data Center Annual Meeting, Austin, TX, May 7, 2008.
19.   Invited testimony on current trends in population change in Texas affecting workforce renewal.
      House Select Committee on Higher and Public Education Finance, Representative Dan Branch,
      Chair, San Antonio, TX, May 13, 2008
20.   Staff briefing, Texas State Senate District 19, Senator Carlos Uresti. San Antonio, TX May 22,
      2008.
21.   Invited testimony on physician workforce needs in the border region of Texas for Senate
      Committee on International Relations and Trade and Health and Human Services, Senator Eddie
      Lucio, Jr. Chair, Austin TX, May 28, 2008.
22.   Current population trends affecting workforce renewal and adult education. National Coalition
      for Literacy, Dollar General Literacy Foundation, Texas Learns and Literacy Texas Conference.
      Houston, TX, May 29, 2008.
23.   Current population trends in Texas affecting transportation needs. Future of Infrastructure
      Investment in Texas Forum, Austin, TX, June 2, 2008.
24.   Current population trends in Texas. University of Texas at San Antonio Superintendent’s
      Conference, San Antonio, TX, June 10, 2008.
25.   Texas Yesterday, Today, and Tomorrow. A perspective on an aging society. Texas Pension
      Review Board, Public Pension Seminar, Austin, TX June 23, 2008.
26.   Current population trends in Texas. Texas Department of Insurance, Property Casualty Division,
      Austin, TX, June 25, 2008.
27.   Invited testimony on population trends affecting healthcare work force needs in Texas. Invited
      testimony to joint House committees on International and Border Affairs, Public Health, and
      Appropriations, Representatives Tracy King. Dianne White Delisi, Ryan Guillen, Chairs. Austin,
      TX, June 30, 2008.
28.   Current population trends in Texas and physician workforce renewal. Texas Health Care Policy
      Council, Partnership Subcommittee. Austin, TX, July 18, 2008.
29.   Invited testimony on population trends affecting non-metropolitan Texas. Senate Committee on
      International Relations and Trade, Senator Eddie Lucio, Jr., Chair, Austin, TX, Austin TX, August
      13, 2008.
30.   Trends in population affecting the renewal of the Texas workforce, Texas Workforce Investment
      Council. Austin, TX, September 5, 2008
31.   Current trends in population change in Texas and San Antonio. Master’s Leadership Forum,
      October 1, 2008.
32.   Current trends in population change in Texas and the Capitol Region. Georgetown Rotary,
      October 3, 2008.
33.   Invited testimony on indigent health care. Texas House Committee on Public Health, Jodie
      Laubenberg, Chair. October 13, 2008
34.   Current trends in population change in Southeast Texas. Leadership Southeast Texas. Orange,
      TX, October 23, 2008.
35.   Population change and workforce renewal in the Texas Panhandle Region. Amarillo, TX, October



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      31, 2008.
36.   Population Change and Health and Healthcare Needs in Texas. San Antonio Hispanic Chamber of
      Commerce. Third Annual Healthcare Summit and Wellness Expo. San Antonio, TX, Henry B.
      Gonzalez Convention Center, November 13, 2008.
37.   Population Change in Deep East Texas. Deep East Texas Council of Governments, Monthly
      Meeting of Elected Officials, Livingston, TX, November 18, 2008.
38.   Projections of Obesity in State of Texas. Texas Health Institute Obesity Forum. Capitol
      Auditorium, Austin, TX, December 2, 2008.
39.   Silver-Haired Legislature, Long-Term Care Forum, Austin, TX, December 8, 2008.
40.   Population Change in Texas and the Alamo Area Council of Governments Region. Alamo Area
      Council of Governments, San Antonio, TX, December 10, 2008.
41.   Current trends of Population Change in Texas. Texas Association of State Systems for Computing
      and Communications, Annual Meeting. December 11, 2008.
42.   Projections of Diabetes Prevalence in Texas. Texas Health and Bioscience Institute, Capital
      Extension Conference Center, Austin, TX December 11, 2008.
43.   Current Trends of Population Change in Texas. 54th Annual Vital Statistics Conference, Austin,
      TX, December 12, 2008.
44.   Texas Children, Retrospect and Prospect. Texas Education Reform Foundation. Austin, TX,
      January 8, 2009.
45.   Current trends of population change in Texas and the NORTEX Region. Burkburnett Chamber of
      Commerce, Burkburnett, Texas. January 24, 2009.
46.   Population change in Texas in Troubling Times. Eagle Pass Chamber of Commerce, Eagle Pass,
      TX. Feb. 6, 2009.
47.   Health Care Needs of Undocumented Migrants in Texas, Mexican American Legislative
      Leadership Foundation. Austin, Texas, February 11, 2009.
48.   Invited testimony on Demographic Trends in Texas Bearing on State Policy. Texas House of
      Representatives, Committee on Appropriations (Representative Pitts, Chair.), February 16, 2009.
49.   Frenship Independent School District, Amarillo, TX, February 23, 2009
50.   Invited testimony. Texas House of Representatives, Committee on Public Health (Rep. Kolkhorst,
      Chair), February 24, 2009.
51.   Invited testimony. Texas House of Representatives, Committee on Pensions, Investments, and
      Public Services (Rep. Truitt, Chair), Austin, TX February 25, 2009
52.   Invited testimony. Texas House of Representatives, Committee on Higher Education (Rep.
      Branch, Chair), Austin, TX February 25, 2009
53.   Invited testimony. Texas House of Representatives, Committee on County Affairs (Rep. Coleman,
      Chair), Austin, TX February 26, 2009
54.   Demographic trends in Texas in Troubling Times. Young Men’s Business League. Austin, TX,
      March 11, 2009.
55.   Demographic trends and inequality in the United States. St. Mary’s University, Presidential
      Peace Commission. San Antonio, TX, March 24, 2009.
56.   Population Trends in Texas in Troubling Times. Texas Farm Bureau Leadership Forum. Austin, TX,
      March 24, 2009.
57.   The Changing Demography of Texas Children: Current Trends and Future Challenges. Texas
      Education Reform Foundation, Austin, TX, April 13, 2009.
58.   Current Trends in Texas Population: Challenges for Health & Health Care. Texas Organization of
      Rural and Community Hospitals, Dallas, TX, April 15, 2009.



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59.   Current Trends of Change in the Population of Texas and Region 3. Region 3 Education Service
      Center, Annual School Board Conference,Victoria, TX. May 20, 2009
60.   Current Demographic Trends and the Future of Texas. Austin Community College, Austin, TX
      June 1, 2009.
61.   Current Demographic Trends and the Future of Texas. Arlington Public Library, Arlington, TX,
      July 7, 2009.
62.   Current Demographic Trends and the Future of Texas. Masters Leadership Program, San
      Antonio. October 6, 2010
63.   Hispanics in the United States and Texas in an Era of Change: Current Patterns of Growth,
      Diversity, Spatial Distribution, and Health Status.
          a. UTMB Hispanic Center on Excellence, February 21, 2012.
          b. UTMB School of Health Professions June 28, 2012.
64.   Galveston City Population, Workforce and Housing, 1960-2010.
          a. Gulf Coast Interfaith, Galveston, TX. September 2011.
          b. Galveston County Mutual Assistance Partnership, January 2012.
          c. Rotary of Galveston Island, Galveston, TX February 2012.
          d. Family Service Centers of Galveston County. Dickinson, TX, March 2012.
          e. Galveston Foundations Roundtable, December, 2013.




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                      Appendix 2 to
Declaration of Karl Eschbach, Ph. D.




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List of Karl Eschbach’s Depositions/Testimonies in the Past Four Years


State v. Leon Davis
Cause Nos. 13-01-00685-CR; 13-05-05517-CR
9th Judicial District Court, Montgomery County, Texas
Date of Testimony: May 21, 2014




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